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Prob 12B                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Norman L. MEADOWS

Docket Number:                       2:94CR00371-02

Offender Address:                    Long Beach, California

Judicial Officer:                    Honorable William B. Shubb
                                     United States District Judge
                                     Sacramento, California

Original Sentence Date:              09/04/1996

Original Offense:                    21 USC 846, 841 (a)(1) - Conspiracy to Manufacture,
                                     Distribute, and Possess with the Intent to Distribute
                                     Cocaine Base
                                     (CLASS B FELONY)

Original Sentence:                   120 months custody Bureau of Prisons; 60 months
                                     supervised release; $50 special assessment

Special Conditions:                  Warrantless search; Drug/Alcohol treatment

Type of Supervision:                 Supervised Release

Supervision Commenced:               06/30/2003

Assistant U.S. Attorney:             Richard J. Bender                Telephone: (916) 554-2700

Defense Attorney:                    Robert M. Holley                 Telephone: (916) 447-8262

Other Court Action:

09/16/2004:                          After the defendant tested positive for cocaine
                                     (08/31/2004), the supervising probation officer
                                     recommended that no action be taken at that time and
                                     the Court approved the probation officer’s plan.

                                                                                         R ev. 04/2005
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RE:    Norman L. MEADOWS
       Docket Number: 2:94CR00371-02
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02/08/2005:                          After the defendant tested positive for cocaine
                                     (12/28/2004 and 01/29/2005), the supervising probation
                                     officer placed the defendant back into their drug
                                     aftercare program and directed him to attend 90 NA
                                     meetings within 90 days. No formal action was
                                     recommended and the Court approved the probation
                                     officer’s plan.



                                PETITIONING THE COURT

To modify the conditions of supervision as follows:

       Norman L. Meadows, as a condition of supervision, shall submit to one drug
       test within 15 days of release from imprisonment and at least two periodic
       drug tests thereafter, not to exceed four tests per month, as directed by the
       probation officer, pursuant to 18 USC 3583(d).


Justification: Mr. Meadows is being supervised by the United States Probation Office
in the Central District of California. In light of the Ninth Circuit Court of Appeals’ finding in
United States v. Stephens (9th Cir. 2005), the supervising probation officer is requesting the
above-mentioned modification. Their interpretation of the Stephens case limits the
probation officer to only three random drug tests outside of treatment, unless the Court
sets the maximum number of tests. The three random drug tests provided by the
conditions of supervision have been exhausted and Mr. Meadows’ history warrants
continued monitoring. Therefore, it is recommended that the Court set the maximum
number of tests for the continued treatment at four tests per month. This schedule would
allow the probation officer to continue monitoring for illicit drug and/or alcohol abuse;
provide intervention if needed; and reduce risk to the community. The defendant has
agreed to this modification and a signed waiver is on file.



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                              Respectfully submitted,

                                 /s/ Kris M. Miura

                                  KRIS M. MIURA
                          United States Probation Officer
                            Telephone: (916) 930-4305

DATED:       February 27, 2006
             Sacramento, California
             KMM:jz


REVIEWED BY:       /s/ Kyriacos M. Simonidis
                   KYRIACOS M. SIMONIDIS
                   Supervising United States Probation Officer




THE COURT ORDERS:

(X )   Modification approved as recommended.

Date: February 28, 2006




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cc:   United States Probation
      Richard Bender, Assistant United States Attorney
      Robert Holley, Defense Counsel
      Defendant
      Court File

Attachment:   Presentence Report (Sacramento only)




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